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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION

UNITED STATES OF AMERICA                     )      No. 4:23CR   OOL{~     LfK
                                             )
V.                                           )      18 U.S.C. § 875(c)
                                             )
HUNTER HOLMAN                                )

                                        INDICTMENT

THE GRAND illRY CHARGES THAT:
                                           COUNTl

       On or about February 8, 2023, in the Eastern District of Arkansas and elsewhere, the

defendant,

                                     HUNTER HOLMAN,

did knowingly transmit in interstate or foreign commerce a communication containing a threat to

injure the person of another with the intent to communicate a true threat and with the knowledge

that the communication would be viewed as a true threat, that is, the defendant called Esporta

Fitness, in Little Rock, Arkansas, and told an employee, "You are a fucking n*****," "you're a

fucking fl'***t dude," and "I'm going to murder you. I have an AR-15." (The threat that the

defendant conveyed used slurs for members of the LGBTQ+ and African American

communities).

                     (END OF TEXT. SIGNATURE PAGE ATTACHED).




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